Case 2:04-cv-02035-.]DB-dkv Document 36 Filed 05/09/05 Page 1 of 2 Page|D 52
F“ED B.,¥,.- w rs o.c,.
UNITED STA TES DISTRICT COURT

WESTERN DISTRICT 0F TENNESSM:».Y -<a ai \2= 01

 

 

WESTERN DIVISION
RAYM()ND C. TURNER, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
CITY OF MEMPHIS, et al., CASE NO: 04-2035-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

lT IS SO ()RDERED AND AD.IUDGED that in accordance With the Order Granting
Defendant’s Motion For Summary Judgment entered on May 6, 2005, this cause is hereby

dismissed and judgment is entered in favor of the Defendants, City of Memphis, et al., and
against the Plaintiff, Raymond C. Turner.

PROVED:

J.' ANIEL BREEN \

CI§ITEI) STATES DISTRICT COURT
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Date Clerk of Court

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This document entered on the docket sheet In compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CV-02035 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

